                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Case No. 13-00335-05-CR-W-DGK
                                             )
NICOLAS P. JUSZCZYK,                         )
                                             )
                      Defendant.             )


                             REPORT AND RECOMMENDATION
                              CONCERNING PLEA OF GUILTY

       The Defendant appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72.1(j)(27),

and 28 U.S.C. § 636 and entered a plea of guilty pursuant to Fed.R.Crim.P. 11(c)(1)(A) and (C) to

Count One of the Indictment. I determined that the guilty plea is knowledgeable and voluntary

and that the offense charged is supported by an independent basis in fact containing each of the

essential elements of such offense. A record was made of the proceedings and a transcript is

available. I therefore recommend that the plea of guilty be conditionally accepted and that the

Court defer a decision on the plea agreement until the Court has reviewed the presentence report as

contemplated by Fed.R.Crim.P. 11(c)(3).

       Failure to file written objections to this Report and Recommendation within fourteen days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1).



                                                           /s/ Sarah W. Hays
                                                          SARAH W. HAYS
                                                 UNITED STATES MAGISTRATE JUDGE




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